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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION

                                                  §
                                                  §
WSOU INVESTMENTS, LLC d/b/a,                      §
BRAZOS LICENSING AND                              §
DEVELOPMENT                                       §   Civil Case No. 6:20-cv-571-ADA
                                                  §   Civil Case No. 6:20-cv-578-ADA
                       Plaintiff,                 §   Civil Case No. 6:20-cv-583-ADA
               v.                                 §   Civil Case No. 6:20-cv-584-ADA
                                                  §
GOOGLE LLC,                                       §   JURY TRIAL DEMANDED
                                                  §
                       Defendant.                 §
_______________________________________________   §

                GOOGLE’S RESPONSIVE CLAIM CONSTRUCTION BRIEF
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                                TABLE OF EXHIBITS

        Exhibit No.                                  Description
Ex. 1                  U.S. Patent No. 7,777,728
Ex. 2                  Manual for the Nokia N770
Ex. 3                  U.S. Patent No. 9,335,825
Ex. 4                  Oxford Desk Dictionary excerpt
Ex. 5                  Excerpt from the ’825 patent file history




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                               TABLE OF ABBREVIATIONS

   Abbreviation                                      Description
 WSOU                    Plaintiff WSOU Investments, LLC d/b/a Brazos License and
                         Development
 Google                  Defendant Google LLC
 ’728 patent             U.S. Patent No. 7,777,728
 ’825 patent             U.S. Patent No. 9,335,825
 POSITA                  Person Of Ordinary Skill In The Art

* Emphasis added unless indicated otherwise.

** For the Court’s convenience, Google cites to WSOU’s opening brief by referring to the brief
filed in Civil Case No. 6:20-cv-578-ADA (which is the same for all of the above-captioned cases)
and to the pagination generated by CM/ECF (at the top of the page) rather than the pagination
at the bottom of the page.
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I.     U.S. PATENT NO. 7,777,728 (CASE NO. 6:20-CV-583-ADA)

       The ’728 patent (Ex. 1) generally describes a “text input method for an electronic

apparatus having a user interface with a touch sensitive display.” (Id. at 1:7-8.) It describes a

“user interface, wherein a virtual keyboard is displayed on the display so as to facilitate input of

an intended character for a user by touching keys of the virtual keyboard with a pointer.” (Id. at

1:66 to 2:2.)

       A.         “tap direction” (claims 1, 11, 16)

                Google’s Construction                             WSOU’s Construction
 tap direction that extends between the first tap       plain and ordinary meaning
 position and a second tap position

       WSOU’s infringement contentions accuse glide typing, which does not involve the user

tapping the screen, but instead dragging a finger without lifting it up. As a result, WSOU seeks a

construction that ignores the “tap” in “tap direction,” and conflicts with intrinsic and extrinsic

evidence. Google’s construction seeks to confirm that “tap” means “tap,” by asking the Court to

construe “tap direction” to mean “tap direction that extends between the first tap position and a

second tap position,” ensuring that the user is tapping rather than gliding, and remaining

consistent with the intrinsic and extrinsic record. WSOU claims that plain and ordinary meaning

will suffice (Dkt. 33 at 9), 1 but WSOU and Google differ on the plain and ordinary meaning of

“tap direction,” and thus “reliance on a term’s ‘ordinary’ meaning does not resolve the parties’

dispute.” O2 Micro Int’l Ltd. v. Beyond Innovation Tech. Co., 521 F.3d 1351, 1361 (Fed. Cir.




       1
          For the Court’s convenience, Google cites to WSOU’s opening brief by referring to the
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pagination at the bottom of the page.


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2008).

         The glide typing WSOU accuses of infringement allows the

user to make a freeform shape on the keyboard, and uses that shape

to derive a word to input into the text field. Glide typing does not

involve or even allow tapping, which would prevent it from

interpreting a shape. WSOU’s construction would thus read the word “tap” out of the claim, by

including any “direction” instead of only a “tap direction.” As WSOU admits, “interpretations

that render some portion of the claim language superfluous are disfavored.” (Dkt. 33 at 10

(quoting Power Mosfet Techs., L.L.C. v. Siemens AG, 378 F.3d 1396, 1410 (Fed. Cir. 2004)));

see, e.g., Merck & Co. v. Teva Pharms. USA, Inc., 395 F.3d 1364, 1372 (Fed. Cir. 2005) (“A

claim construction that gives meaning to all the terms of the claim is preferred over one that does

not do so.”); Qcue, Inc. v. Digonex Techs., Inc., Case No. 12-484, 2013 WL 4784120, at *4

(W.D. Tex. Sept. 5, 2013) (“[P]roposed construction would impermissibly read ‘pricing’ out of

the claim.”), aff’d, 575 Fed. App’x 895 (Fed. Cir. 2014). Although WSOU argues that Google’s

construction would render claim language superfluous (Dkt. 33 at 10), that is not so: Google’s

construction would ensure that that “tap” has meaning by confirming that a “tap direction”

extends between two taps, a “first tap position and a second tap position.”

         The specification confirms that the patentee understood “tapping” to mean tapping, that

is, a press-down followed by a lift-up in the same location. The specification notes that a “user 9

may operate the pocket computer 1 by pointing/tapping/dragging with a pointer 9c such as a

stylus or pen,” acknowledging that “pointing,” “tapping,” and “dragging” are different actions

(Ex. 1 at 4:54-60), but specifically chose “tap” in the claims. Furthermore, in describing how

“[t]he distance and angle between the new position 163 and the previous position 161 is




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calculated” (id. at 7:31-33), the patent provides that “the user 9 has pressed stylus 9c on the

screen at the position 161 for the letter ‘d’” and “[t]o input the next letter, ‘o’, the user 9 then

lifts and moves the stylus along a path 162, and presses down the

stylus at a new position.” (Id. at 7:12-17.) Google’s construction

honors the specification and the patentee’s decision to include the

word “tap” in the claims; WSOU’s construction contradicts the

specification and would render “tap” in the claims superfluous. Merck, 395 F.3d at 1372.

       Finally, extrinsic evidence confirms the patentee’s understanding

of “tap” to mean a press-down followed by a lift-up in the same location.

The ’728 depicts a device, the Nokia N770, that patentee Nokia released

shortly before it filed the application that became the patent. (Compare

Ex. 2 at 1 with Ex. 1 at Fig. 6; see also Ex. 1 at Figures 1-3, 7-9b.) The

manual for the N770 stated that a tap is a “stylus down and up on the

same object,” which it distinguished from other touch actions:




(Ex. 2 at 11.) The N770 Manual specifically distinguished “tapping” from “dragging”:




(Id.) Accordingly, WSOU’s interpretation of “tap direction” to include dragging misinterprets

not only the patentee’s understanding in the intrinsic record, but also its public explanation of the


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same term in the manual for the device depicted by the patent. Google’s construction follows the

intrinsic and extrinsic record. The Court should adopt it.

II.    U.S. PATENT NO. 9,335,825 (CASE NO. 6:20-CV-578-ADA)

       The ’825 patent relates to an apparatus that uses a continuous wave doppler radar to

detect a human gesture and interpret the detected gesture as a user input command. (Ex. 3 at

2:27-29.) The apparatus transmits radio signals that are reflected by a portion of the human

body, such as a moving hand. (Id. at 2:53-54.) The reflection of the transmitted radio signals

imparts a time-varying modulation to the radio signals, which is detected and used to identify

one or more time-varying parameters that characterize the hand gesture that caused the signal

modulation. (Id. at 2:52-67, 4:19-45.)

       A.      “continuous wave doppler radar” (claims 1 and 19)

             Google’s Construction                             WSOU’s Construction
 a Doppler radar that emits an uninterrupted         plain and ordinary meaning
 electromagnetic signal

       WSOU recognizes that the ’825 patent distinguishes a “continuous wave” Doppler radar

from a Doppler radar that is “pulsed to save power.” (Dkt. 33 at 11.) The ’825 patent explains

that a Doppler radar “does not have to be on continuously and may be pulsed to save power.”

(Ex. 3 at 4:23-24.) WSOU also acknowledges that “the specification describes two types of

Doppler radar detectors: continuous wave and pulse.” (Dkt. 33 at 11.) Google’s construction

simply articulates this distinction by giving the term “continuous” its commonly understood

meaning of being “uninterrupted.” (Ex. 4 at 003 (defining “continuous” as “uninterrupted;

unbroken”).)

       Google agrees that the ’825 patent distinguishes between a “continuous” Doppler radar

and a Doppler radar that is “pulsed to save power.” (Ex. 3 at 4:2-24.) Similarly, the



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specification distinguishes a “continuous wave” radar from a “pulsed Doppler or pulsed Ultra

wideband” radar. (Id. at 4:33-36.) During prosecution in order to overcome a prior-art rejection,

the inventors stressed the distinction between a “continuous wave” Doppler radar and a radar that

emits a pulsed signal. (Ex. 5 at 0577-589.) In doing so, the inventors amended the claims to

recite a “continuous wave Doppler radar,” and then distinguished the prior art as using “pulses.”

(Id. at 0586 (inventors explaining that “measuring the phase of the sent and received pulses as in

[the prior art] clearly cannot be seen to disclose or suggest at least where amended claim 1

relates to detecting the predetermined time-varying modulation of the received signal comprising

detecting a doppler frequency shift in the transmitted radio signals based on a continuous wave

doppler radar”).)

        Google’s construction reflects the distinction between a “continuous wave” Doppler radar

and a radar that emits a pulsed signal. In accordance with the ’825 patent and prosecution

history, a “continuous wave” Doppler radar emits a “continuous”, i.e., uninterrupted,

electromagnetic signal. In contrast, a radar that is “pulsed” emits an electromagnetic signal that

is interrupted.

        WSOU asserts that Google’s construction could somehow be “misapplied” to exclude

Frequency Modulated Continuous Wave Doppler radar. (Dkt. 33 at 11-12.) This is wrong. That

is not Google’s argument, and WSOU makes no attempt to explain why or how Google’s

construction could be applied in this way. Whether the frequency of a transmitted signal is

modulated has no bearing on whether the emitted signal is “continuous,” i.e., uninterrupted. In

fact, Google’s proposed construction helps avoid any jury confusion between “wave” and

“pulse” or “modulate” by confirming, as the patent does, that the relevant signal must be

uninterrupted.




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      B.      “at least one memory and the computer program code are configured, with the
              at least one processor, to cause the apparatus to at least: detect that an
              application is being started on the apparatus; in response to the application
              being started on the apparatus, turn on a continuous wave doppler radar at
              the apparatus” (claim 1)

             Google’s Construction                               WSOU’s Construction
 Subject to Section 112, ¶ 6                           plain and ordinary meaning
 Indefinite for lack of structure

        The dispute is whether the term “at least one memory and the computer program code are

configured, with the at least one processor, to cause the apparatus” to perform the functions of

“detect[ing] that an application is being started on the apparatus,” and “in response to the

application being started on the apparatus, turn on a continuous wave doppler radar” is subject to

Section 112, ¶ 6 and indefinite for failure to disclose corresponding structure.

        To determine whether Section 112, ¶ 6 applies, the threshold inquiry is “whether the

words of the claim are understood by [POSITAs] to have a sufficiently definite meaning as the

name for structure.” Williamson v. Citrix Online, LLC, 792 F.3d 1339, 1348 (Fed. Cir. 2015).

Though absence of the word “means” creates a rebuttable presumption that a term is not a

means-plus-function limitation, Section 112, ¶ 6 applies when the claim term: (i) “fails to recite

sufficiently definite structure,” or (ii) “recites function without reciting sufficient structure for

performing that function.” Id. at 1349. Importantly, “[t]he question is not whether a claim term

recites any structure but whether it recites sufficient structure—a claim term is subject to §

112(f) if it recites function without reciting sufficient structure for performing that function.”

Egenera, Inc. v. Cisco Sys., Inc., 972 F.3d 1367, 1374 (Fed. Cir. 2020).

        Claim 1’s formulaic reference to “computer program code” and a “processor” does not

connote sufficient structure to avoid means-plus-function treatment. Indeed, as this Court

explains, applicants cannot “simply recite two nonce words—‘processor’ and ‘code’—together



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in order to essentially write the claim in a means-plus-function format without being subject to §

112, ¶ 6.” Dyfan, LLC v. Target Corp., 6:19-cv-179-ADA, Dkt. 57 at 20 & n.4 (W.D. Tex.

2020). The same is true here for claim 1. And the addition of “at least one memory” does not

add any meaningful structure. The memory simply indicates where the “code” is stored; it does

not convey any structural specificity to the generic term “program code.” The specification

confirms that a processor, memory, and program code are black-box placeholders requiring

specific algorithms to perform the recited functions. (Ex. 3 at 5:12-18, 5:31-34 (“The computer

program instructions provide the logic and routines that enables the apparatus to perform the

methods illustrated in FIG. 6. The processor 20 by reading the memory 22 is able to load and

execute the computer program.”).)

       WSOU’s argument that the “program code” somehow “connotes specific structure in

view of the detailed functional tasks recited in the body of the claim” (Dkt. 33 at 14) proves the

opposite. That claim 1 requires the “program code” to perform a multitude of different, detailed

functions demonstrates that “program code” amounts to nothing more than a generalized catch-

all for whatever algorithms may perform the recited functions. See, e.g., Media Rights Techs.,

Inc. v. Capital One Fin. Corp., 800 F.3d 1366, 1372 (Fed. Cir. 2015) (applying Section 112, ¶ 6

because “the claims simply state that the ‘compliance mechanism’ can perform various

functions”); Williamson, 792 F.3d at 1350 (applying Section 112, ¶ 6 when the claim language

“replaces the term ‘means’ with the term ‘module’ and recites three functions performed by the

‘distributed learning control module’”).

       WSOU also cites LG Elecs., Inc. v. Bizcom Elecs., Inc., 453 F.3d. 1364 (Fed. Cir. 2006),

but that case was decided before the en banc Williamson decision. The Federal Circuit expressly

cautions against reliance on pre-Williamson cases when assessing whether Section 112, ¶ 6




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applies. See Egenera, 972 F.3d at 1374 (rejecting arguments against applying Section 112, ¶ 6

because “none of [plaintiff’s] precedent considers Williamson”); Media Rights, 800 F.3d at 1373

(cautioning against reliance pre-Williamson “superseded case law, which imposed a heavy

presumption against finding a claim term to be in means-plus-function format”).

       Finally, for step two of the means-plus-function inquiry, the ’825 patent does not disclose

any structure or algorithm to perform the claimed functions of “detect[ing] that an application is

being started,” and “turn[ing] on a continuous wave doppler radar.” Tellingly, WSOU does not

even attempt to identify such structure, and by “not having raised the issue in its opening brief,

[plaintiff] has waived that argument.” First-Class Monitoring, LLC v. UPS, Inc., 389 F. Supp.

3d 456, 469 (E.D. Tex. 2019) (Judge Bryson). Addressing similar circumstances, the Federal

Circuit instructs that “[o]n this point [] little needs to be said” because plaintiff “did not argue to

this court that, even if the claim language at issue is within § 112, ¶ 6, the language is definite

because the specification sufficiently discloses corresponding structure.” Robert Bosch, LLC v.

Snap-On Inc., 769 F.3d 1094, 1101 (Fed. Cir. 2014). In any event, nothing in the specification

provides structure for performing the claimed function. Rather, the ’825 patent depicts the

processor as an empty rectangle without any structural detail (Ex. 3 at Fig. 2), and states that the

processor executes various computer program instructions that are stored in memory. Entirely

absent from the disclosure, and necessary under the law, is a description of algorithms, routines,

or instructions by which to perform the claimed functions. The disclosed structure must be “the

special purpose computer programmed to perform the disclosed algorithm.” WMS Gaming, Inc.

v. Int’l Game Tech., 184 F.3d 1339, 1349 (Fed. Cir. 1999). It is equally “well settled that simply

disclosing software [ ] without providing some detail about the means to accomplish the function

is not enough.” Function Media, L.L.C. v. Google, Inc., 708 F.3d 1310, 1318 (Fed Cir. 2013).




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Date: February 12, 2021                  Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I certify that on February 12, 2021, I served the foregoing by electronic mail on counsel

of record.

                                                /s/ David E. Anderson
                                                David E. Anderson
